                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                   HARRISONBURG DIVISION

  KEYSTONE TRANSPORTATION                          )
  SOLUTIONS, LLC,                                  )
                                                   )
            Plaintiff,                             )
                                                   )
  v.                                               )     Civil Action No. 5:18-cv-00039
                                                   )
  NORTHWEST HARDWOODS, INC., et                    )     By: Elizabeth K. Dillon
  al.,                                             )         United States District Judge
                                                   )
            Defendants.                            )

                                     MEMORANDUM OPINION

            Plaintiff Keystone Transportation Solutions, LLC (Keystone) filed this action against

  Northwest Hardwoods, Inc. (NWH) and Thomas Mereen and alleges the following interrelated

  claims, all of which arise from their business dealings and subsequent events: misappropriation

  of trade secrets, breach of contract, breach of fiduciary duty, aiding and abetting the breach of

  fiduciary duty, tortious interference with contractual relations, and business conspiracy. Pending

  before the court is defendants’ motion for summary judgment, seeking judgment as a matter of

  law on all six counts. (Dkt. No. 63.) The motion has been fully briefed and argued before the

  court. For the reasons set forth herein, the motion for summary judgment will be granted as to

  Keystone’s aiding and abetting the breach of fiduciary duty claim and denied as to all other

  claims.




Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 1 of 19 Pageid#: 5516
                                              I. BACKGROUND 1

          Keystone was a logistics company that specialized in the export of forest products and

  operated from the Inland Port of Virginia (VIP). David Steffens and Williams Ellis were the

  founders of Keystone. Steffens served as its CEO, and Ellis served as its CFO.

          Prior to Keystone’s creation, Ellis and Steffens conducted research about transportation

  inefficiencies in the forest products market. Specifically, they found that the industry’s reliance

  on trucking, with greater weight restrictions and increased fumigation costs, was inefficient.

  This led them to create Keystone. To operate at the VIP, Keystone acquired a license from

  Virginia International Terminals (VIT) beginning August 1, 2015, and continuing until the

  earlier of July 31, 2020, thirty days after written notice of termination, or immediately if

  terminated following an Event of Default. The license agreement allowed assignment only with

  the written consent of the VIT and provided that Keystone would assign any permits or licenses

  for fumigation operations to the VIT or its designee upon termination of the agreement.

          At the VIP, Keystone (1) established a central collection point for wood basket products;

  (2) fumigated those products on-site with a Department of Environmental Quality (DEQ) permit;

  (3) utilized direct access to freight trains running to Norfolk; (4) took advantage of the greater

  weight allowances on rail by transporting more product per load; and (5) corresponded with

  overseas customers for American hardwood. Keystone made $500,000 worth of real property

  investments and $1.5 million worth of capital investments during the license agreement period.

  The DEQ permit was exclusive to the site.

          During the first few years of Keystone’s existence, Steffens’s research and experiences

  led him to develop the “Shipper Savings Model” (SSM). Steffens considered the SSM to be

          1
            In setting forth this background, the court construes the evidence, and the reasonable inferences
  therefrom, in the light most favorable to Keystone, the non-moving party. Laing v. Fed. Express Corp., 703 F.3d
  713, 714 (4th Cir. 2013).

                                                          2

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 2 of 19 Pageid#: 5517
  Keystone’s most valuable trade secret. SSM’s “high level conclusions” were not unique, but its

  specific findings on savings were confidential. The information, modeling, and data underlying

  Keystone’s shipping savings was kept confidential by securing Keystone’s physical site,

  restricting access to high-level officers, and entering into non-disclosure agreements before

  disclosing information to other companies. Keystone’s model could only be conducted at this

  specific site at the VIP—any attempted replication elsewhere would suffer from the same

  inefficiencies originally identified by Steffens and Ellis. (Ellis Aff. ¶¶ 2–5, Dkt. No. 92-54;

  Steffens Aff. ¶¶ 2, 5–11, Dkt. No. 92-52; Steffens Expert Report, Dkt. No. 77-5 at 69; August

  2015 License Agreement 4, 9, Dkt. No. 81-52; March 2017 License Agreement 22, Dkt. No. 81-

  53.)

         Northwest Hardwoods (NWH) is a supplier and manufacturer of hardwood. (Keeling

  Decl. ¶ 6, Dkt. No. 77-1 at 7.) On February 22, 2016, a formal introduction was made between

  NWH and Keystone, in which Mark Fornasiero, a Keystone board member, stated that Keystone

  had “an innovative approach to the supply chain for exporting hardwoods,” and was “leveraging

  an exclusive partnership” that it had with the VIP. Around March 2016, Mike Knavenshue,

  NWH’s transportation head, and Bo Hammond, NWH’s head of log sales, visited Keystone’s site

  at the VIP and met with Steffens and Ellis. During this meeting, Steffens and Ellis emphasized

  Keystone’s ability to ship more logs per container and their onsite fumigation. (Ellis Aff. ¶ 7;

  NWH Follow-up Email, Dkt. No.77-4 at 83; Knavenshue Dep. 22–24, Dkt. No. 77-4 at 59.) The

  parties’ business proposal involved NWH selling hardwood logs to Keystone, who would then

  aggregate, fumigate, and transport those logs to Keystone’s foreign customers. In May 2016, the

  parties conducted a test run where NWH shipped its lumber to the VIP for Keystone to “stuff” in

  containers there and ship. (Ellis Aff. ¶¶ 7–8; Knavenshue Dep. 34–40.) Prior to the test run,



                                                   3

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 3 of 19 Pageid#: 5518
  Steffens visited NWH’s site to watch how it loaded lumber, and Knavenshue emailed Ellis about

  how he wanted the containers to be loaded. (Knavenshue Dep. 30, 40–41; Ellis Dep. 258, Dkt.

  No. 77-1 at 55.) Loading at the port during the test run gave NWH an additional $5,371.40 in

  revenue and allowed it to ship an additional 4,280 board feet. (Knavenshue Dep. 41–42.) Using

  its own data and observations from the test load, as well as the $600 ocean rates Ellis disclosed

  to Noel Adcock, NWH’s transportation manager, NWH compared the cost of shipping lumber

  through the VIP versus by truck. (Keeling Decl. ¶ 23, Dkt. No. 77-1 at 1; Call Follow-up email,

  Dkt. No. 77-5 at 29.)

         In July 2016, NWH and Keystone began discussing a joint venture for exporting log

  sales. In response to Ellis’s outline of their potential business partnerships, Darrell Keeling, the

  COO of NWH, responded that NWH needed “to make sure [it is] as profitable with a partner as

  [it] would be on [its] own,” and sought information about Keystone’s profitability, stating, “of

  course, the last part of that statement will come with the information through the [non-disclosure

  agreement] NDA.” (NWH Log Program email, Dkt. No. 92-8 at 1; Keeling Dep. 50–51, Dkt.

  No. 92-6 at 7.) On August 11, 2016, the parties signed an NDA. It defines “confidential

  information” as “all information or material that has or could have commercial value or other

  utility in the business in which Disclosing Party is engaged,” and states that the disclosing party

  shall stamp written confidential material with the word “confidential.” Under the NDA, the

  receiving party agreed to “hold and maintain the Confidential Information in strictest confidence

  for the sole and exclusive benefit of the Disclosing Party.” (NDA, Dkt. No. 77-5 at 49–50.)

  After the NDA was signed, Keeling asked Ellis for Keystone’s financial data “[s]ince we have an

  NDA.” (Meeting Confirmation 9/1/16 email, Dkt. No. 92-10.) In response, Ellis shared “hard

  financial data” with Keeling. (Meeting Confirmation 9/1/16 email, Dkt. No. 92-11.) Keystone



                                                    4

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 4 of 19 Pageid#: 5519
  believed that all electronically shared documents between the parties following the NDA were

  subject to the NDA. (Ellis Aff. ¶ 10.)

         On September 1, 2016, the parties held a meeting at the VIP, and afterwards, NWH sent

  Keystone a list of due diligence requests and stated: “[s]ince we are already under an NDA I

  think you should be comfortable in providing this.” (Ellis Aff. ¶¶ 12–15; Follow-ups from our

  meeting email, Dkt. No. 92-13 at 1.) On September 6, 2016, Keystone sent NWH a model “to

  evaluate the logistics and transportation opportunities that [Keystone] offers.” (Re: Follow-ups

  from our meeting email, Dkt. No. 92-14.) On September 19, 2016, Ellis created a password-

  protected Google Drive for specific individuals from NWH and Keystone, and uploaded the

  requested due diligence documents and Keystone’s SSM to the Google Drive. (Ellis Aff. ¶ 14.)

  The SSM was an electronic spreadsheet that set forth a “coherent economic model of the

  sustained savings that would accrue to [NWH] both through logs and lumber on the export side”

  with “sustained analyses” that allowed the user to change the mill location, the destination of the

  logs and lumber, how the logs and lumber would be transported, and whether fumigation was

  needed. Following the creation of the Google Drive, NWH also asked for Keystone’s monthly

  balance sheets since January 2015. (Steffens Dep. 288–90, Dkt. No. 77-1 at 71–72; Monthly

  Balance Sheets email, Dkt. No. 92-22.)

         Between July and November 2016, Keeling and Thomas Mereen, who was the president

  of Keystone at that time and who is now the current log export lead at NWH, exchanged twenty-

  nine text messages and had fifteen phone calls (Phone Records, Dkt. No. 92-24), and on

  November 11, 2016, Mereen emailed Keeling, asking if he could work at NWH (Work

  Relationship email, Dkt. No. 92-26). On November 14, 2016, Keeling emailed TJ Rosengarth,

  the CEO of NWH, sending him information about Keystone that was not publically available and



                                                   5

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 5 of 19 Pageid#: 5520
  not otherwise known to the public. (Log Trading Proposal email, Dkt. No. 92-27.) Following

  this exchange, Keeling and Rosengarth planned for Knavenshue to approach Stan Crockett, an

  on-site port manager with the VIP, to “know what the real situation is with the lease.” They

  discussed how to “coach” Knavenshue so he would “not telegraph NWH cutting [Keystone]

  out,” and that they would do so “under [the] guise of due diligence for working with Keystone.”

  (Log Trading Proposal email, Dkt. No. 92-30.) Crockett and Knavenshue spoke the next day.

  (RE: Call email, Dkt. No. 92-31.)

         The day after that conversation, on November 16, 2016, Barnes-Smith, the business

  manager of the VIP, contacted NWH seeking a business partner for the log stuffing operations at

  the VIP. (Barnes-Smith Dep. 125–27, Dkt. No. 92-32.) Barnes-Smith communicated to Keeling

  that the VIP was “tired of dealing with” Keystone, and Keeling responded that NWH could take

  over the operation as soon as possible. (Barnes-Smith Voicemail email, Dkt. No. 92-34 at 2.)

         On November 23, 2016, Keystone presented a $4 million offer for its purchase to NWH,

  and on November 29, 2016, Keeling told Ellis and Steffens that the Keystone acquisition was

  scheduled to be discussed at NWH’s upcoming Board of Directors meeting. At this point,

  Keystone was not aware that NWH had been communicating with the VIP. (Ellis Aff. ¶¶ 19–

  20.) On December 1, 2016, Barnes-Smith circulated an internal memorandum that

  recommended sending a notice of default to Keystone (with a five-day cure period) and

  contacting NWH to take over the log stuffing operations at the VIP. (VIP Land License and Log

  Operations, Dkt. No. 92-37.)

         On December 8, 2016, Mereen met with Steffens and Ellis to notify them that he was

  resigning and going to work for NWH. On December 12, 2016, Keeling notified Keystone that

  NWH would not be moving forward with the deal. Keystone never received a response from



                                                  6

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 6 of 19 Pageid#: 5521
  NWH to its request for the return of its confidential information. (Ellis Aff. ¶¶ 22–23, 26–27.)

  Keeling attempted to contact Barnes-Smith twice following NWH’s rejection of Keystone’s

  offer. (Dkt. Nos. 92-38, 92-40.) While waiting for the VIP to send the notice of default to

  Keystone, Keeling expressed to the VIP that NWH was “standing by with the financial and

  human capital to take over the existing operation or start a new one.” (VIP email, Dkt. No. 92-

  41.)

           Throughout its negotiations with NWH and afterwards, Keystone also was discussing its

  potential purchase with World Distribution Services (WDS). On February 2, 2017, Keystone

  and WDS signed a letter of intent (LOI) about WDS purchasing Keystone and paying its debt to

  VIT in full. However, by letter dated February 10, 2017, WDS rescinded the LOI because it had

  been informed by the VIT that a notice of default had been sent to Keystone and that it was in

  advanced discussions with an unnamed party who would assume Keystone’s license. (Ellis Aff.

  ¶¶ 21, 28, 31–32.) Although the notice of default was dated January 13, 2017, Keystone claims

  it was not aware of the notice until mid-February—after it entered into the LOI with WDS. 2

  (Mem. Opp’n Mot. Summ. J. 13–14, Dkt. No. 92; Notice of Default, Dkt. No. 92-47.)

           After WDS rescinded the LOI, Keystone ceased operations on March 2, 2017. (Ellis Aff.

  ¶¶ 33, 35.) On March 3, 2017, NWH executed a license agreement with the VIT for Keystone’s

  former premises. (NWH License Agreement, Dkt. No. 92-51.) Since entering into this license

  agreement, NWH has performed the log loading services at the VIP. (Keeling Decl. ¶ 35.)

  There is no material difference between the work that was performed at the VIP by Keystone and

  the work that is performed now by NWH. (Mereen Dep. 34–35, Dkt. No. 92-48.)



           2
             The notice of default gave Keystone five days to pay its outstanding balance and stated that it did not
  constitute a termination of the license agreement. (Notice of Default, Dkt. No. 92-47.)


                                                             7

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 7 of 19 Pageid#: 5522
         Keystone asserts the following claims: 1) violation of the Defend Trade Secrets Act, 18

  U.S.C. § 1832 et seq., against NWH; 2) breach of contract against NWH; 3) breach of fiduciary

  duty against Mereen; 4) aiding and abetting the breach of fiduciary duty against NWH; 5)

  tortious interference with contractual relations and prospective business relations against NWH

  and Mereen; and 6) business conspiracy against NWH and Mereen. (Compl. 26–35, Dkt. No. 1.)

                                            II. DISCUSSION

  A. Summary Judgment Standard

         Under Rule 56, summary judgment is proper where “there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

  genuine issue of material fact exists only where the record, taken as a whole, could lead a

  reasonable jury to return a verdict in favor of the non-moving party. Ricci v. DeStefano, 557

  U.S. 557, 586 (2009). In making that determination, the court must take “the evidence and all

  reasonable inferences drawn therefrom in the light most favorable to the nonmoving party.”

  Henry v. Purnell, 652 F.3d 524, 531 (4th Cir. 2011) (en banc) (quoting Ausherman v. Bank of

  Am. Corp., 352 F.3d 896, 899 (4th Cir. 2003)).

         A party opposing summary judgment “may not rest upon the mere allegations or denials

  of his pleading, but . . . must set forth specific facts showing that there is a genuine issue for

  trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (citations omitted). Moreover,

  “[t]he mere existence of some alleged factual dispute between the parties will not defeat an

  otherwise properly supported motion for summary judgment . . . .” Id. at 247–48. Instead, the

  non-moving party must produce “significantly probative” evidence from which a reasonable jury

  could return a verdict in his favor. Abcor Corp. v. AM Int’l, Inc., 916 F.2d 924 (4th Cir. 1990)

  (quoting Anderson, 477 U.S. at 249–50).



                                                     8

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 8 of 19 Pageid#: 5523
  B. Specific Claims

         1. Count One: The Defend Trade Secrets Act against Northwest Hardwoods

         To make a claim under the Defend Trade Secrets Act (DTSA), a plaintiff must establish

  that it owns a trade secret, that the trade secret was misappropriated, and that the trade secret

  implicates interstate or foreign commerce. Space Sys./Loral, LLC v. Orbital ATK, Inc., 306 F.

  Supp. 3d 845, 853 (E.D. Va. 2018). A trade secret is:

                 [A]ll forms and types of financial, business, scientific, technical,
                 economic, or engineering information, including patterns, plans,
                 compilations, program devices, formulas, designs, prototypes,
                 methods, techniques, processes, procedures, programs, or codes,
                 whether tangible or intangible, and whether or how stored,
                 compiled, or memorialized physically, electronically, graphically,
                 photographically, or in writing if--
                 (A) the owner thereof has taken reasonable measures to keep such
                 information secret; and
                 (B) the information derives independent economic value, actual or
                 potential, from not being generally known to, and not being readily
                 ascertainable through proper means by, another person who can
                 obtain economic value from the disclosure or use of the
                 information.

  18 U.S.C. § 1839(3). For a claim under the DTSA, the plaintiff carries the burden to describe

  “the subject matter of its alleged trade secrets in sufficient detail to establish each element of a

  trade secret.” Trandes Corp. v. Guy F. Atkinson Co., 996 F.2d 655, 661 (4th Cir. 1993). As

  such, the plaintiff must “identify, with particularity, each trade secret it claims was

  misappropriated. This must be done to allow the finder of fact to distinguish that which is

  legitimately a trade secret from other information that is simply confidential but not a trade

  secret, or is publicly available information.” Kancor Ams., Inc. v. ATC Ingredients, Inc., No. 15–

  CV00589–GBL–IDD, 2016 WL 740061, at *14 (E.D. Va. Feb. 25, 2016) (quoting

  MicroStrategy Inc. v. Bus. Objects, S.A., 331 F. Supp. 2d 396, 418 (E.D. Va. 2004)).




                                                    9

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 9 of 19 Pageid#: 5524
          Whether or not a trade secret exists is a “fact-intensive question to be resolved at trial.”

   Decision Insights, Inc. v. Sentia Grp., Inc., 311 F. App’x 586, 592 (4th Cir. 2009) (quoting

   Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 419 (4th Cir.1999)). A plaintiff

   cannot simply produce lists of general information. Stevens & Sons, Inc. v. JELD-WEN, Inc.,

   2018 WL 1796293, at *7 (E.D. Va. Apr. 16, 2018). Further, it is important that a trade secret not

   be readily ascertainable through legitimate means, because if it is, “the inference is that the

   information was either essentially ‘public’ or is of de minimis economic value.” Trident Prods.

   & Servs., LLC v. Canadian Soiless Wholesale, Ltd., 859 F. Supp. 2d 771, 779 (E.D. Va. 2012)

   (quoting MicroStrategy Inc., 331 F. Supp. 2d at 416–17). “However, it is also clear that a

   compilation of public facts can also constitute a trade secret if the compilation itself has

   remained confidential.” MicroStrategy, 331 F. Supp. 2d at 417 (citing Comprehensive

   Technologies Intern., Inc. v. Software Artisans, Inc., 3 F.3d 730, 736–37 (4th Cir. 1993)).

          In addition, “[t]o prove ‘misappropriation’ of a trade secret, the plaintiff must establish

   two elements: (1) that the defendant acquired, disclosed, or used a trade secret developed by the

   plaintiff through improper means (namely, without express or implied consent); and (2) that the

   defendant knew or had reason to know that its knowledge of the trade secret was either acquired

   under circumstances giving rise to a duty to maintain its secrecy or derived through a person

   owing such a duty to the plaintiff.” Trident Prods., 859 F. Supp. 2d at 780; 18 U.S.C. § 1839(5).

   For a plaintiff to support its claim of misappropriation, it must use “actual objective evidence,

   not only inference.” Id. at 780 (quoting Othentec, Ltd. v. Phelan, 526 F.3d 135, 142 (4th Cir.

   2008) (emphasis added)). But, importantly, determining whether a trade secret has been

   misappropriated “is uniquely factual in nature because it ordinarily involves extensive




                                                    10

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 10 of 19 Pageid#: 5525
   circumstantial evidence that must be evaluated against the direct evidence often presented by

   defendants in a trade secrets case.” MicroStrategy Inc. v. Li, 601 S.E.2d 580, 589 (Va. 2004).

            Keystone has defined what it considers its trade secrets to be, including the information

   underlying its logistics concept, its answers to NWH’s due diligence requests, and the SSM.

   (Mem. Opp’n Mot. Summ. J. 15–16, Dkt. No. 92; Steffens Aff. ¶¶ 4–13, Dkt. No. 92-52; Compl.

   ¶ 135; Steffens Expert Report, Dkt. No. 92-53 3.) Additionally, despite NWH’s assertions that it

   already knew, could readily ascertain, or had already implemented the methods and information

   shown to it by Keystone, it appears that NWH recognized the value of the information provided

   by Keystone. As their business dealings progressed, it agreed to sign the NDA prior to

   exchanging information and referenced the NDA before requesting further additional

   information from Keystone. Moreover, Rosengarth, NWH’s CEO, stated that Keystone’s

   principals would add value and had far more logistics experience, recognized that Keystone

   already had an established log yard connected to the port, and noted that Keystone had a viable

   fumigation service and permit. (Thoughts on JV Structure email, Dkt. No. 92-18.) Rosengarth

   considered Keystone to be a “very promising add-on business to NWH to grow exports of

   hardwood logs as well as provide a more cost effective means to export lumber,” demonstrating

   NWH’s interest in working with Keystone and its recognition of Keystone’s model. (NWH

   Weekly Report September 7 email, Dkt. No. 92-17.) Keeling believed that the Keystone model

   worked better and captured costs more effectively than another model NWH was considering.

   (WDS and Keystone Freight Savings Comparison Calculator, Dkt. No. 92-19.)

            Keystone has also described the years of research and experience that led Steffens and

   Ellis to develop these concepts for its business, and it asserted that NWH did not initially


            3
             While the court is excluding the opinions of Steffens as expert testimony, his testimony as a fact witness
   with regard to the content of the alleged trade secrets is relevant.

                                                            11

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 11 of 19 Pageid#: 5526
   understand the SSM and its benefits. Further, Keystone has described the reasonable measures

   that it took to keep its information secret at the VIP, including securing the physical site,

   restricting access to the information, and entering into a non-disclosure agreement before

   disclosing its information to other companies. (Steffens Aff. ¶¶ 4–8, 12–13.) Thus, there is a

   dispute of material fact as to whether Keystone’s alleged trade secret were “publicly disclosed,

   commonly known, readily ascertainable, and already used by NWH,” and therefore possessed no

   independent economic value, as NWH contends.

           In addition, NWH now operates at the exact same site of Keystone’s former operation

   and conducts a materially similar, if not identical, operation. Keystone has demonstrated that its

   business model—which now appears to be utilized in the same manner by NWH—was

   developed through its own expertise, research, and experience. (See Steffens Aff. ¶¶ 4–13;

   Steffens Expert Report.) NWH’s implementation of this model at the VIP immediately followed

   Keystone’s exit from the VIP, after the companies exchanged data and information under an

   NDA and after NWH had toured the VIP with Keystone and witnessed its operation firsthand.

           Keystone argues that the material similarities between the businesses must have resulted

   from the disclosure of confidential information. In response, NWH cites to Trident, in which the

   court rejected a similar argument by the plaintiff. 859 F. Supp. 2d at 780. But Trident is

   distinguishable. There, the plaintiff failed to establish the existence of a trade secret at all and its

   evidence of misappropriation rested only on an inference. Id. In contrast, here, there is at least a

   dispute of material fact about the existence of trade secrets, and Steffens has described the

   unique nature of Keystone’s business model, which Mereen admits it is now replicating. Even if

   NWH maintains that it did not use confidential information from Keystone, (Keeling Dep. 96–

   97; Keeling Dec. ¶ 25, Dkt. No. 77-1 at 10–11), these facts comprise the kind of “extensive



                                                     12

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 12 of 19 Pageid#: 5527
   circumstantial evidence” that raises a dispute of material fact as to whether misappropriation

   occurred. MicroStrategy Inc., 601 S.E.2d at 589.

          For these reasons, there are genuine disputes of material fact for a jury to determine as to

   the Defend Trade Secrets Act claim.

          2. Count Two: Breach of Contract against Northwest Hardwoods

          In count two, Keystone alleges that NWH’s misuse of its confidential information

   constituted a breach of the parties’ NDA. Under Virginia law, “[t]he elements of a breach of

   contract action are (1) a legally enforceable obligation of a defendant to a plaintiff; (2) the

   defendant’s violation or breach of that obligation; and (3) injury or damage to the plaintiff

   caused by the breach of obligation.” Ulloa v. QSP, Inc., 624 S.E.2d 43, 48 (Va. 2006). To prove

   a legally enforceable obligation, the plaintiff must prove (1) offer, (2) acceptance, and (3)

   consideration. See Montagna v. Holiday Inns, Inc., 269 S.E.2d 838, 844 (Va. 1980) (“[T]here

   must be a complete agreement which requires acceptance of an offer, as well as valuable

   consideration.”)

          NWH argues that the NDA did not apply to the information disclosed to it by Keystone

   because it was available through legitimate means or already known to NWH, and that Keystone

   did not suffer any harm because NWH did not misuse confidential information. Moreover, if

   information was disclosed pursuant to the NDA, NWH failed to return it as required by the

   NDA. For the reasons discussed under the analysis for count one, there are genuine disputes of

   material fact as to both the existence of trade secrets (and thus a dispute about the independent

   economic value of the information) and the misappropriation of those alleged trade secrets.

   Further, NWH’s alleged misappropriation of Keystone’s trade secrets has, according to

   Keystone, allowed NWH to take over Keystone’s former operation at the VIP and implement



                                                     13

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 13 of 19 Pageid#: 5528
   Keystone’s unique business model without purchasing Keystone’s business, arguably causing

   NWH’s unjust enrichment and loss to Keystone. Therefore, there are genuine disputes of

   material fact as to whether NWH is liable for breach of the NDA.

          3. Count Three: Breach of Fiduciary Duty against Mereen

          “A plaintiff may demonstrate a breach of the fiduciary duty of loyalty by showing that

   the defendant ‘misappropriated trade secrets, misused confidential information, or solicited

   clients or other employees prior to termination of employment.’” Contract Assocs., Inc. v.

   Atalay, No. 1:14-cv-882, 2015 WL 1649051, at *3 (E.D. Va. Apr. 10, 2015) (quoting Williams v.

   Dominion Tech. Partners, LLC, 576 S.E.2d 752 (Va. 2003)). “To succeed on a claim for breach

   of fiduciary duty, a plaintiff must prove: (1) the existence of a fiduciary duty; (2) a breach of that

   duty; and (3) damages resulting from the breach.” Contract Assocs., Inc. v. Atalay, No. 1:14-cv-

   882, 2015 WL 1649051, at *3 (E.D. Va. Apr. 10, 2015).

          Defendants maintain that Mereen did not share any trade secret information with NWH

   (Mem. Supp. Mot. Summ. J. 12–13) and attempt to refute Keystone’s allegations that Mereen

   supplied confidential information to NWH by explaining that the calls and text messages

   between Mereen and Keeling prior to November 11, 2016, were related to either routine business

   matters or a potential joint venture for Keystone and NWH. NWH also provides context to the

   November 11 email—in which Mereen asked to work at NWH—by pointing out that a few hours

   earlier, Ellis emailed Mereen about the conversation he was about to have with Keeling, stating:

   “[Keystone] desires to engage in a dialogue that would move Tom Mereen over to NWH as a

   permanent employee.” NWH also challenges Keystone’s suggestion that Mereen provided the




                                                    14

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 14 of 19 Pageid#: 5529
   information disseminated in Keeling’s November 14 email, arguing that Keeling could have

   learned this information elsewhere. 4 (Reply Mem. Supp. Mot. Summ. J. 4–7, Dkt. No. 103.)

           Contrary to NWH’s assertion at the hearing, it has only explained some of the many

   phone calls and text messages between Mereen and Keeling in the fall of 2016. (Reply Mem.

   Supp. Mot. Summ. J. 4–6.) Additionally, while Ellis seems to have been aware that Mereen was

   going to seek employment at NWH, three days after Mereen emailed Keeling, on November 14,

   Keeling shared information about Keystone with Rosengarth and another NWH employee that

   was not available on the Google Drive and not publically available. Four days after Mereen

   emailed Keeling, on November 15, Keeling and Rosengarth planned for Knavenshue to approach

   Crockett “under [the] guise of due diligence for working with Keystone.” (Log Trading Proposal

   email, Dkt. No. 92-30.) And on November 16, Barnes-Smith contacted NWH regarding the log

   stuffing operations because the VIP no longer wanted to work with Keystone. Viewed in the

   light most favorable to Keystone, the evidence of what occurred before and after the November

   11 email, and in such close temporal proximity, raises genuine disputes of material fact as to

   whether Mereen misappropriated trade secrets or misused confidential information in breach of

   his fiduciary duty of loyalty to Keystone.

           4. Count Four: Aiding and Abetting the Breach of Fiduciary Duty against
              Northwest Hardwoods

           As to its aiding and abetting of Mereen’s alleged breach of fiduciary duty, NWH asks the

   court to follow courts that have held there is no such claim, or to otherwise note that there is no

   evidence that NWH participated in any breach of fiduciary duty. (Mem. Supp. Mot. Summ. J.

   n.13); see MicroStrategy Servs. Corp. v. OpenRisk, LLC, No. 1:14-cv-1244, 2015 WL 1221263,

   at *3 (E.D. Va. 2015). Arguably, Keystone has waived this claim because it was not addressed

           4
              NWH argues that Keeling could have learned this information through truck drivers who interacted with a
   freight forwarder with whom Keystone worked.

                                                          15

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 15 of 19 Pageid#: 5530
   in its brief in response to NWH’s motion for summary judgment and counsel for Keystone only

   referenced the claim in passing at the hearing. At the very least, Keystone failed to cite any

   authority in support of its bald assertion that this cause of action is cognizable. Therefore, the

   court will grant summary judgment as to count four.

          5. Count Five: Tortious Interference with Contractual Relations and Prospective
             Business Relations against Northwest Hardwoods and Mereen

          In count five, Keystone alleges that Mereen and NWH intentionally interfered with

   Keystone’s pending transaction with WDS by unlawfully using information obtained from

   Mereen and/or data obtained under the NDA to contact the VIT and seek use of its premises.

   (Compl. ¶¶ 167–71.) To establish tortious interference with contractual relations and prospective

   business relations, Keystone must prove: “(1) the existence of a business relationship or

   expectancy, with a probability of future economic benefit to plaintiff; (2) defendant’s knowledge

   of the relationship or expectancy; (3) a reasonable certainty that absent defendant’s intentional

   misconduct, plaintiff would have continued in the relationship or realized the expectancy; and (4)

   damage to plaintiff.” Williams, 576 S.E.2d at 757. “[T]he extent of permissible interference that

   Virginia will allow increases as the degree of enforceability of a business relationship

   decreases.” Bay Tobacco, LLC v. Bell Quality Tobacco Prod., LLC, 261 F. Supp. 2d 483, 500

   (E.D. Va. 2003).

          NWH contends that that there was no probable future economic benefit or “reasonable

   certainty” that Keystone would have realized any expectancy with WDS because the LOI was

   conditioned on assignment of the Keystone license, which was objectively unachievable because

   Keystone had already received the notice of default from the VIT when it entered into the LOI.

   NWH also points out, and Keystone conceded at the hearing, that there is no evidence NWH

   contacted WDS directly. (Mem. Supp. Mot. Summ. J. 28–29.) In response, Keystone argues

                                                    16

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 16 of 19 Pageid#: 5531
   that it was “unaware that it was losing its premises” when it entered into the LOI with WDS

   because the default notice had not been mailed to its location at the VIP and the notice of default

   did not invalidate the LOI because it states: “This letter shall not constitute a termination of the

   Agreement.” (Mem. Opp’n Mot. Summ. J. n.12; Notice of Default.)

          There is a genuine dispute of material fact as to the existence of a business relationship or

   expectancy here. While NWH argues that Keystone had received the notice of default when it

   entered into the LOI, Keystone contends that it had not received the notice of default and

   emphasizes that the notice of default itself was not a termination of its license agreement with the

   VIT. Further, NWH points out only that it never contacted WDS directly. It does not, however,

   specifically deny knowledge of the business relationship/expectancy between Keystone and

   WDS. Indeed, Mereen would have known of the WDS negotiations before he left Keystone for

   NWH.

          In addition, the timing of the events at issue supports reasonable inferences in Keystone’s

   favor on this claim. For example, Barnes-Smith contacted NWH about partnering together for

   the log stuffing operation at the VIP only five days after Mereen reached out to NWH and only

   one day after Knavenshue spoke to Crockett while avoiding “telegraphing” that NWH was

   cutting Keystone out. Notably, immediately preceding all of those contacts, Barnes-Smith had

   been content with Keystone being in arrears because he wanted Keystone to succeed and they

   were still stuffing logs at the VIP. (Barnes-Smith Dep. 85–87, 182–83.) Once Barnes-Smith and

   Keeling spoke, NWH wanted to “move quickly on meeting with [VIT],” so they would not “give

   Keystone a chance to put a deal together with anyone else.” (Barnes voicemail email.) The

   timing, in particular, leads to a genuine dispute of material fact as to whether NWH knew of




                                                    17

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 17 of 19 Pageid#: 5532
   Keystone’s dealings with WDS when it reached out to the VIT and began discussing a

   partnership for the log stuffing operation at the VIP.

          Further, WDS clearly rescinded the LOI because it discovered that the VIT was in

   advanced discussions with NWH to assume Keystone’s license, demonstrating that, but for

   NWH’s negotiations with VIT (whether those actions constituted intentional misconduct or not),

   there is at least some evidence supporting a reasonable certainty that Keystone would have

   continued in the relationship or realized the expectancy. Finally, Keystone was damaged by the

   failure of its negotiations with WDS because Keystone ended its operations. For these reasons,

   there are genuine disputes of material fact for a jury, so the court will not grant summary

   judgment as to the tortious interference claim.

          6. Count Six: Common Law and Statutory Business Conspiracy against Northwest
             Hardwoods and Mereen

          Keystone alleges that a conspiracy existed between Mereen and NWH, as evidenced by

   their discussions prior to December 8, 2016, for Mereen to help take over Keystone’s business

   and license agreement by violating his fiduciary duties and duty of loyalty through

   misappropriation of trade secrets. Keystone further alleges that these actions were undertaken to

   destroy Keystone as a company. (Compl. ¶¶ 172–81.)

          To prevail on its business conspiracy claim, Keystone must prove by clear and

   convincing evidence: “(1) concerted action; (2) legal malice; and (3) causally related injury.”

   Schlegel v. Bank of Am., N.A., 505 F. Supp. 2d 321, 325 (W.D. Va. 2007). Under the concerted

   action requirement, Keystone “must prove that the defendants combined together to effect a

   preconceived plan and unity of design and purpose.” Id. at 326 (internal quotations and citations

   omitted). For legal malice, Keystone must show that “injur[ing] the plaintiff’s reputation, trade,

   or business . . . was at least one of the purposes of the conspiracy.” Id.

                                                     18

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 18 of 19 Pageid#: 5533
          As discussed in addressing other counts, the events leading up to and following Mereen’s

   November 11 email, including both Mereen and NWH’s actions, raise genuine disputes of

   material fact as to misappropriation of trade secrets and/or misuse of confidential information.

   Additionally, NWH began its operation of a materially similar, if not identical, operation at

   Keystone’s former premises immediately following the termination of Keystone’s operations.

   This occurred after it received information from Keystone under an NDA and toured Keystone’s

   facilities at the VIP. As noted previously, there are genuine disputes of material fact as to

   NWH’s misappropriation of Keystone’s alleged trade secrets. This, combined with the fact that

   Mereen and Keeling had fifteen phone calls and exchanged twenty-nine text messages between

   July and November 2016 is sufficient to create a factual dispute for the jury as to the business

   conspiracy claim.

                                          III. CONCLUSION

          For the foregoing reasons, the court will grant defendants’ motion for summary judgment

   as to Keystone’s aiding and abetting the breach of fiduciary duty claim and will deny the motion

   as to all other claims. An appropriate order will be entered.

   Entered: April 19, 2019.




                                                 /s/ Elizabeth K. Dillon
                                                 Elizabeth K. Dillon
                                                 United States District Judge




                                                    19

Case 5:18-cv-00039-EKD-JCH Document 204 Filed 04/19/19 Page 19 of 19 Pageid#: 5534
